Case l:19-cr-00059-LO Document 9"SEALED* Filed 03/08/19 Page lot4 Page!D#47


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA

                                        Alerandiia Dhisioii


  UNITED STATES OF AMERICA                             No. l:19-CR-59

                  V.                                   The Honorable Liam 0*Grady
  DANIEL EVERETTE HALE,                               FILED UNDER SEAL

                           Defendant.


                       MOTION FOR LEAVE TO PROVIDE COPIES OF
             SEALED INDICTMENT TO CERTAIN GOVERNMENT ENTTTigfi

        On March 7,2019,a federal grandjury in the Eastern District ofVirginia returned a five-
 count indictment in the above-captioned case. The Court subsequently issued an arrest warrant
 at the request ofthe United States. Upon a motion by the United States pursuant to Local Rule
49,the Court also entered an Order on March 7sealing the indictment until the United States

 moves to unseal the case or the defendant is arrested, whichever comes first.

        The U.S. Attorney's Office for the Eastern District ofVirginia now seeks leave fi^om the

Court to provide copies ofthe sealed indictment to the Federal Bureau ofInvestigation(FBI),as
well as counsel for thel




             In support ofthis Motion,the United States represents:

        1.      The FBI is investigating Defendant Daniel Everette Hale in connection with the

unlawful obtainment,retention,and disclosure of certain government-owned or government-

controlled documents between on or about February 28,2014,and December 2016. Some of
Case l:19-cr-00059-LO Document9*SEALED* Filed 03/08/19 Page2of4PagelD#48

 the documents at issue are classified and contam national defense Infoimation and/or
 communications intelligence uifonnation, while other such documents are unclassified.
        2.      On March 7,2019,the grand jury retomed a five-count indictment charging the
 defendant with obtaining national defense information,in violation of18 U.S.C.§ 793(c),
 retaining and transmitting national defense information,in violation of 18 U.S.C.§ 793(e),
 causing the communication ofnational defense information,in violation of 18 U.S.C.§ 793(e),
 disclosing communications intelligence,in violation of 18 U.S.C.§ 798(a)(3), and theft of
government property,in violation of 18 U.S.C.§ 641.

        3.     At the time the grandjury returned the indictment,the govemmrait submitted a
motion that requested that the matter be sealed given fiiat the government is continuing to gather
and evaluate evidence, weigh the appropriateness ofcertain charges, and determine which

national defense information is appropriate for potential disclosure at a trial. The government
further explained in its motion for a sealing order that premature disclosure ofthe charges
against the defendant would possibly thwart the government's ability to continue its investigation
and make the aforementioned evaluations; provide the defendant and others with a roadmap of
the ongoing criminal investigation, including the identity ofagents and potential witnesses

involved;and threaten law enforcement's ability to locate and arrest the defendant The

Honorable Theresa C. Buchanan granted the government's request and sealed the indictment

until the government moves to unseal it or the defendant is arrested, whichever comes first.

       4.      For purposes offurthering its investigation,the government now seeks leave from

this Courtto provide sealed copies ofthe indictment to the FBI,as well as counselfor thej^^^
                                       The government intends to inform recipients ofthe

sealed documents that the items are under seal and may not be disclosed to unauthorized parties.
Case l:19-cr-00059-LO Document 9 *SEALED* Filed 03/08/19 Page 3 of 4 PagelD# 49


        5.      Although the FBI may be entitled to a copy ofthe sealed indictment given that the
 FBI is the lead investigative agency in this matter,the government seeks permission from this

 Court out ofan abundance ofcaution. Providing a copy ofthe sealed indictment to the FBI is

 necessary to assist the FBI in its continued investigation ofthe defendant.

                As for                                                         these

 have a need to review a copy ofthe sealed indictment in order to provide assistance in the

 investigation. For example,in order to satisfy its discovery obligations,the government needs
 the assistance ofthe aforementioned agencies in conducting prudential searches. Such searches

 necessarily require counsel                                                   have knowledge of
 the charges and allegations in the indictment.

        7.      The government submits that, at this time,the proposed disclosure ofthe sealed

 indictment does not warrant an unsealing ofthe court iSle in the above-captioned case. The
 government also requests that the instant motion and the requested Court Order also be sealed

 until the indictment is unsealed. As noted previously,the investigation is ongoing and public
 disclosure ofthe indictment could thwart the government's investigation in the ways outlined

 above in Paragraph 3. For instance,the defendant,\xpon learning ofthe indictment,could take

 measures to avoid apprehension. In other words,there is a substantial probability that the

 release ofthe sealed documents would severely compromise the government's on-going

 investigation,thus making continued sealing appropriate. See^ e.g..In re EyeCare Physicians

 ofAm^i 100 F.3d 514,518(7th Cir. 1996);In re Search Warrantfor Secretarial Area Outside

 Office ofGunnt 855 F.2d 569,574(8th Cir. 1988);In re Flower Aviation ofKansas,Inc.,789 F.

 Supp.366,368-69(D.Kan. 1992). Moreover,the Court's authority to seal an indictmettt is

 ^'broader than merely the need to take the defendant into custody." United States v. Ramey,791
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Case l:19-cr-00059-LO Document 9*SEALED* Filed 03/08/19 Page 4 of 4 PagelD# 50


  F.2ci 317,320-21 (4th Cir. 1986). Indeed,a ^'judicial o£5cer may grant the Government's
  ihotion to seal for any legitimate prosecutorial need."id at 321,and one such legitimate
  prosecutorial need is the continued gathering ofevidence,see United States v. Ldkin,875 F.2d
  168,170(8th Cir. 1989)(explaining that the district court deemed legitimate the government's
  request to seal an indictment on the grounds that,although probable cause existed to indict the
. defendants, more time was needed to gather additional evidence for purposes ofevaluating
  whether the case should be pursued).

         7.      A proposed Order is attached requesting that the Court authorize the limited

  disclosure ofthe sealed indictment and seal the instant Motion and proposed Court Order,as
  described herein.



                                                      RespectMy submitted,

                                                      G.Zachary Terwilliger
                                                      United States Attorney


 Date: March 8,2019                           By:                                               -




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